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                               UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                         ORLANDO DIVISION

    SHAEDA BURGESS,

                            Plaintiff,

    v.                                                          Case No: 6:19-cv-2156-Orl-78LRH

    UNIVERSAL CITY DEVELOPMENT
    PARTNERS, LTD.,

                            Defendant.


                                                   ORDER
              This cause came on for consideration without oral argument on the following motion filed

    herein:

              MOTION:       PLAINTIFF’S UNOPPOSED MOTION FOR LEAVE TO
                            EXCEED PAGE LIMITATION (Doc. No. 23)

              FILED:        January 2, 2020



              THEREON it is ORDERED that the motion is GRANTED.

              Plaintiff may file a response to Defendant’s motion to dismiss (Doc. No. 18) not exceeding

    twenty-five (25) pages in length.

              DONE and ORDERED in Orlando, Florida on January 6, 2020.




    Copies furnished to:
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    Counsel of Record
    Unrepresented Parties




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